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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  Minutes of Proceedings


OFFICE: CAMDEN                                       Proceeding Date: September 1, 2022

 MAGISTRATE JUDGE SHARON A. KING

Court Reporter: Recorded


Title of Case:                          Docket:                 Civil 21-15288(CPO/SAK)
TERRUSO-CRESPO
         Vs
ALTANTIC COUNTY JUSTICE FACILITY, ET AL

Appearances:
Michael Budner & Michael Donio, Esq. for plaintiff
Carolyn Murray, Esq. for County Defts.
Thomas Reynolds, Esq. for Hamilton Twp.
Jeffrey McClain, Esq. for CFG defts.


Nature of Proceedings:   MOTION HEARING

Hearing on oral application to reopen case; Ordered application granted; Order to be entered


Time Commenced:      11:00 am Time Adjourned: 11:45 am Total Time: 45 Minutes



                                                           s/ Marnie Maccariella
                                                            DEPUTY CLERK



Cc: Chambers
